                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                KANSAS CITY DIVISION

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )       4:23-CR-00067-BP-1
                                              )
MIRZA M. REAZUDDIN                            )


                          UNOPPOSED MOTION TO WITHDRAW

       Mr. Sami Azhari of Azhari, LLC, the law firm representing Mirza Reazuddin, pursuant to

United States District Court of the Western District of Missouri Local Civil Rule 83.2,

respectfully moves this Court to allow him to withdraw as the attorney of record for Mr.

Reazuddin, and states the following:

       1. Mr. Azhari was retained by Mr. Reazuddin on or about May 24, 2023, and filed his

            Motion to appear pro hac vice, which was granted by this Court on May 24, 2023.

            Order, ECF No. 13.

       2. On July 7, 2023, this Court granted Mr. Reazuddin’s unopposed Motion to Continue

            the Trial Date, resetting the jury trial for February 12, 2024. Order, ECF No. 21.

       3. Mr. Azhari and Mr. Reazuddin have experienced an irreparable breakdown in

            communication that creates a conflict of interest in Mr. Azhari’s ability to effectively

            represent Mr. Reazuddin in this matter.

       4. Given Mr. Reazuddin’s requests, Mr. Azhari seeks leave to withdraw for ethical

            reasons.

       5. Mr. Reazuddin has expressed frustration with Mr. Azhari at every step of the case.

       6. If this Court were to grant this Motion, this would not prejudice Mr. Reazuddin.




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       7. Trial is set in February and Mr. Azhari seeks to withdraw with sufficient time to have

           a new attorney prepare for the February trial.

       8. If the court grants this motion, Mr. Azhari also seeks the withdrawl of local counsel,

           Timm Schowalter, who is serving as Mr. Azhari’s local counsel.

       WHEREFORE, undersigned counsel, Sami Azhari, respectfully requests that this Court

grant his request to withdraw from further representation of Mr. Reazuddin in this matter, and for

such other and further relief as is appropriate under the circumstances.

       October 11, 2023                               Respectfully Submitted,



                                              Respectfully submitted,

                                              /s/Sami Azhari
                                              Sami Azhari, attorney for Mirza Reazuddin



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                               CERTIFICATE OF SERVICE

The undersigned states that, on October 17, 2023, he caused the above to be served on
counsel of record by way of ECF filing.

                                            Respectfully submitted,

                                            /s/Sami Azhari
                                            Sami Azhari

                                            Attorney for Mirza Reazuddin




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